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UNITE]) STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

DEUTSCHE BANK NATIONAL TRUST
COMPANY, solely in its capacity as
Trustee for MORGAN STANLEY
STRUCTURED TRUST I 2007-1,

Plaintiff, No. l4-CV-3 020 (KBF)
V.

MORGAN STANLEY MORTGAGE
CAPITAL HOLDINGS LLC, as Suecessor~
by~Merger to MORGAN STANLEY
MORTGAGE CAPITAL INC,

Defendant.

 

 

STIPULATION OF VOLUNTARY ])ISMISSAL

WHEREAS Plaintiff Deutsehe -Bank National Trust Cornpany, solely in its capacity as
Trustee for the Morgan Stanley Structured Trustl 2007-1 and Defendant Moi‘gan Stanley Capital
Holdings LLC, have reached a settlement agreement in this action;

lT IS HEREBY STIPULA'I`ED AND AGREBD, by and between the parties through their
undersigned counsel, that this action is DISMISSED WITH PREJUDICE pursuant to Federal
Rule of Civil Procedure 4l(a)(l)(A)(ii). Each party shall bear costs, fees, and expenses as

dictated by the settlement agreement

 

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Dated: April 3, 2018
New York, New Yorlc

By: /'S/ Steven F. Molo
Steven- F. Molo

 

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